      Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 1 of 21



                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


VERTEX SERVICES, LLC                                           CIVIL ACTION NO. __________

VS.

TETRA TECHNOLOGIES, INC. and                                        JURY TRIAL REQUESTED
TETRA APPLIED TECHNOLOGIES, LLC

                          PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Plaintiff, Vertex Services, LLC, complaining of Defendants TETRA

Technologies, Inc., and TETRA Applied Technologies, LLC and would respectfully show as

follows:

                                          I. PARTIES

       1.1     Vertex Services, LLC (“Vertex”) is a limited liability company existing under the

laws of Texas with its principal place of business in Harris County, Southern District of Texas.

Vertex Services, LLC provides offshore labor and staffing services for the energy industry. Its

members are all citizens of the State of Texas.

       1.2     TETRA Technologies, Inc. is a for-profit corporation existing under the laws of

Delaware with its principal place of business in The Woodlands, Montgomery County, Texas and

which does business in the State of Texas for the purpose of accumulating monetary profit. TETRA

Technologies is an oil and gas offshore services company. Tetra may be served with process through

its registered agent, CT Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas 75201-3136.

       1.3     TETRA Applied Technologies, LLC, is a limited liability company existing under

the laws of Delaware with its principal place of business in The Woodlands, Montgomery County,


                                                  1
      Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 2 of 21



Texas, which does business in the State of Texas for the purpose of accumulating monetary profit.

TETRA Applied Technologies is a oil and gas offshore services company. TETRA Applied

Technologies, LLC may be served with process through its registered agent, CT Corporation System,

1999 Bryan St., Suite 900, Dallas, Texas 75201-3136.

       1.4     TETRA Technologies, Inc. and TETRA Applied Technologies, LLC will be

collectively referred to as “TETRA” and/or “Defendants”.

                              II. JURISDICTION AND VENUE

       2.1     The Court has jurisdiction over the lawsuit under 18 U.S.C. § 1961, et seq. (Statutory

jurisdiction under RICO); 28 U.S.C. § 1331 (jurisdiction for matters arising under 18 U.S.C. § 1962,

et seq.); and 43 U.S.C. § 1337 (original jurisdiction for Acts of Congress regulating commerce).

       2.2     The Court has personal jurisdiction over the Defendants, which, at all relevant times,

resided, were found, had an agent in, or transacted business in the State of Texas, including the

Southern District of Texas.

       2.3     Venue is proper in this District under 28 U.S.C. § 1391(b)(1) and 28 U.S.C. §

1391(b)(2) because the Defendants reside in the Southern District of Texas and a substantial part of

the events or omissions giving rise to the claims occurred in this District. Venue is also proper in

this District under the RICO venue provision contained in 18 U.S.C. § 1965.

                                           III. FACTS

       3.1     TETRA is a geographically diversified oil and gas services company, focused on

completion fluids and associated products and services, water management, frac flowback,

production well testing, offshore rig cooling, compression services and equipment and selected

offshore services, including the provision of offshore labor to other companies. TETRA is a global




                                                 2
      Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 3 of 21



company with employees and operations on six continents. It employs hundreds, if not thousands,

of persons on its projects and has an ongoing need for workers to staff its projects.

       3.2     TETRA’s Offshore Services division provides customers with market-leading

solutions for construction and is the market leader of decommissioning services in the Gulf of

Mexico, focusing on the safe and efficient elimination of their abandonment liabilities. The largest

asset, the TETRA Hedron, is a derrick barge with a 1,600-metric-ton lifting capacity, which is part

of a suite of synergistic service lines including: Engineering and Project Management, Well Plug and

Abandonment, Diving and Marine, Heavy Lift Derrick Barges, and Customized Cutting & Pressure

Control Technologies.

       3.3     Through a complex and illegal scheme, TETRA illegally hires overseas workers to

work on their vessels in order to save money. This ongoing depression of wages by TETRA results

in the loss of benefits to American citizens and aliens lawfully admitted to the United States for

permanent residence. It also limited the amount that TETRA paid its labor providers since overseas

workers were significantly cheaper to use than their American counterparts.

       3.4     Vertex was a major source of offshore labor for TETRA. Since 2009, Vertex has

provided offshore labor to remove and install platforms and pipelines in the Gulf of Mexico and all

maintenance related to derrick and pipeline barges. Vertex offers offshore positions for all tasks

from the Superintendent to the galley-hand. All of Vertex’s personnel are trained to the guidelines

of the client and have multiple years of experience on the job. In addition to providing American

labor for manning requirements, Vertex also provides foreign labor with B-1 OCS visas when a

company has received a U.S. Coast Guard exemption regarding foreign personnel.

       3.5     Two statutes govern the employment of non-U.S. citizens as unlicensed crewmembers

on board vessels working within the U.S. Outer Continental Shelf.


                                                 3
      Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 4 of 21



               3.5.1   46 U.S.C. § 8103 (b) requires that each unlicensed seaman on a vessel like

the TETRA Hedron must be either: a citizen of the United States or an "alien lawfully admitted to

the [U.S.] for permanent residence.” The statute further limits the number of foreign workers by

providing that no more than 25 percent of the total unlicensed seamen on board can be aliens

lawfully admitted for permanent residence.

               3.5.2   43 U.S.C. § 1356 requires that the Secretary of the Department in which the

Coast Guard is operating issue regulations which require any vessel, rig, platform, or other vehicle

or structure be manned “by citizens of the United States or aliens lawfully admitted to the United

States for permanent residence.”

       3.6     Both of the statutes contain a provision under which the U.S. Coast Guard may issue

a waiver for the employment of other legal aliens when there are not U.S. citizens or permanent

resident aliens qualified for work available.

       3.7     The effect of the statutes is that all crewmembers on a vessel operating in the OCS

must be either U.S. citizens or permanent resident aliens or they must possess a valid waiver from

the Coast Guard and be in full compliance with the conditions of the waiver. Without a waiver from

the Coast Guard, foreign workers who are not permanent resident aliens are not permitted, and the

maximum number of permanent resident aliens that may be employed is 25 percent of the total

number of unlicensed seamen on board a vessel.

                 FOREIGN OFFSHORE LABOR EXEMPTION PROCESS

       3.8     There are procedures in place for all owner/operators who believe they qualify for an

exemption from the citizenship requirements discussed above. Coast Guard enacted regulations

require that at least 30 days prior to a project start up date, an employer must demonstrate to the

Coast Guard his attempts to employ U.S. citizens. The exemption request must include:


                                                 4
      Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 5 of 21



               3.8.1   A detailed job description, with list of qualifications, for each position

requiring a waiver including the catalog number of the position requested from the Dictionary of

Occupational Titles (DOT). If the position requested cannot be specifically identified, then its

nearest approximation.

               3.8.2   In reviewing qualifications required for the positions where there is an obvious

seniority relationship, the listed experience factors should reflect this. For example; the senior

electrician would normally be expected to need more experience and knowledge than one of his

assistants. Further, qualifications being requested should not be any more stringent than those

required of recent non-U.S. citizen personnel hired at the time such personnel were first hired.

               3.8.3   Documented proof of attempts to find employees through normal private

sources including advertisements in widely circulated newspapers for at least three days; advertising

in at least one edition of a large mineral and oil industry trade magazine and proof of correspondence

with maritime and/or oil industry related employment agencies and other appropriate suppliers of

workers. Included should be, by position, a summation of numbers of applications received, numbers

of interviews granted, numbers hired, and reasons workers not qualified. Companies often utilize

online job-search websites provided by both the Texas Workforce Commission and Louisiana

Workforce Commission. A description of the owner/operators training program should be submitted

to show their intended efforts to train U.S. citizens for employment on the Shelf.

       3.9     The Coast Guard will, upon receipt of this information, decide if the exemption is

needed and if recruitment via the private sector was actively pursued. In the event that this

information is judged insufficient, the owner/operator will be contacted for any additional material.

       3.10    If it is determined that the provided information is adequate, then the material will

be forwarded to Department of Labor (DOL). DOL will then review all the information they have


                                                  5
      Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 6 of 21



received and determine if any qualified U.S. workers are available. If there are none, the Coast Guard

will be notified, pursue the matter no further and issue the exemption.

        3.11    Waivers are issued for one year periods and must be reapplied for at the end of that

year. The procedures followed for the initial waiver will be applicable to renewals with the addition

of an update on what efforts have been made to recruit and/or train personnel in the intervening year.

Proof of advertisements for the past year should be submitted as well as a summary of the effects

such advertisements have had. Further, if any new foreign nationals were hired to any exempted

positions listed for the previous year, and for which another exemption is sought, it will be necessary

to attach that employee's qualifications and experience to the new request.

               WAIVER ISSUED TO TETRA FOR THE D/B TETRA HEDRON

        3.12    TETRA’s Heavy Lift Group provides technical expertise and capability to handle

various offshore projects, utilizing a fleet of derrick barges. With a lift capacity of up to 1,700 short

tons, these barges are a good fit for accommodating the installation and decommissioning of various

topside and jacket structures. TETRA has relied on three of these barges to perform work in the

OCS: TETRA Hedron, Arapaho, and DB-1.

        3.13    In August 2011, TETRA purchased the TETRA Hedron from two Chinese

shipbuilding companies for a reported $71 million. At the time of the purchase, Stuart Brightman,

TETRA’s President and Chief Executive Officer stated: “The TETRA Hedron will enhance our

ability to remove larger structures and it will complement our existing heavy lift, diving, plug and

abandonment, and cutting services. During the second quarter, we have hired and trained the

majority of the key personnel needed to operate the Hedron. Initial feedback from our customers

regarding our purchase of the Hedron has been very favorable, and we have a growing backlog of




                                                   6
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 7 of 21



work waiting for the Hedron’s anticipated fourth quarter debut in the Gulf of Mexico.” Brightman

made no mention of the use of the foreign labor that would be sent to the vessel.

       3.14    Beginning with its purchase of the TETRA Hedron, the company has requested and

received a U.S. Coast Guard waiver of the prohibition against foreign labor contained in 46 U.S.C.

§ 8103 (b) and 43 U.S.C. § 1356 for the vessel. Although this exemption expires every year, on

information and belief, TETRA has sought and received a renewal of the foreign labor exemption

for the TETRA Hedron every year it has operated it.

       3.15    As a result of their operation of three barges, TETRA believed it was short on

qualified personnel requiring it to pursue foreign labor exemptions from the Coast Guard. During

this time period TETRA also maintained an exemption on one of its other barges, the DB-1.

       3.16    In 2013, TETRA required additional workers on the DB-1. Although TETRA had

previously received a foreign labor exemption for the DB-1, this exemption expired in late 2012.

When asked whether Vertex could provide foreign labor for positions on the DB-1, Vertex declined

and informed TETRA that foreign workers could not be used on that vessel without a valid U.S.

Coast Guard exemption. Without contacting Vertex, TETRA simply re-assigned multiple welders

who were on the TETRA Hedron to illegally work on the DB-1. At the time the workers were re-

assigned to the DB-1, the vessel was docked at Port Fourchon, Louisiana. The foreign workers

performed completion work and maintenance on the barge.

       3.17    In February 2014, TETRA sold the DB-1. The cessation of the DB-1 created an

immediate surplus of American workers for TETRA to use on the remaining two barges. At the time

it was sold, TETRA no longer needed to spread its personnel over three vessels. At that point in

time, TETRA was legally required to redeploy all the American workers who were previously on the

DB-1 to perform jobs on the Arapaho or the TETRA Hedron.


                                                7
      Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 8 of 21



       3.18    In January 2014 Vertex renewed the personnel contract with TETRA. When the

contract was renewed, Vertex increased the cost of foreign labor, and reduced American rates.

Vertex informed TETRA at that time there was an abundance of American labor available that

Vertex was able to supply that would meet the labor needs of TETRA. TETRA refused this offer

and continued to misrepresent to the United States Coast Guard that there was an absence of

American workers available to fill these positions.

       3.19    Since 2014, the foreign workers arrived each year before American employees were

re-hired and the hiring process began for the new year. These foreign laborers worked weeks to

months on the vessel to prepare it to mobilize to its first offshore location. During this period, all

work performed by foreign workers is performed on the vessel while it is docked. Once the vessel

goes offshore, they normally work four to five months at a time, and begin a regular rotation. While

the vessel is working offshore, foreign laborers perform work on fixed platforms and/or drilling rigs.

Foreign workers utilized by TETRA perform work on fixed installations and/or drilling rigs

including welding, rigging, transporting, handling of explosives, loading and unloading of material

barges, and general maintenance.

       3.20    In May 2014, all foreign workers provided by Vertex were unable to work on the

TETRA Hedron due to compliance issues. During the brief period of noncompliance, TETRA

contracted for American personnel through another contractor, C&G Welding. While the foreign

workers provided by Vertex remained idle on the vessel, American welders from C&G carried out

work for TETRA. Once the compliance issues were resolved, TETRA terminated the work of the

American riggers and welders provided by C&G Welders and sent them home. The foreign labor

provided by Vertex was again used on the TETRA Hedron even though American workers from both

C&G and Vertex existed to fill those positions.


                                                  8
      Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 9 of 21



       3.21    The labor savings TETRA was able to benefit from weren’t enough. TETRA even

billed Vertex for the expenses related to the American workers. On June 18, 2014 TETRA notified

Vertex that $75,000.00 would be withheld from what was due to Vertex to pay for the temporary

C&G-provided American workers.

       3.22    In June 2014, TETRA leased the DB-1 from TOPPS, the company that had purchased

the barge earlier in the year. There was no exemption in place on the vessel at this point, so TETRA

applied for a new exemption on June 20, 2014. Although TETRA just a month prior had used

American workers from C&G Welding during the non-compliance period on the TETRA Hedron,

and just two days prior had actually billed Vertex for expenses related to the American workers,

TETRA claimed to U.S. Coast Guard that no American workers were available for the project

involving the DB-1. The projected savings from using illegal workers during this project was

$9,600.00 per day. The project lasted over 90 days.

       3.23    At the middle/end of 2015, TETRA approached Vertex regarding a cost reduction of

foreign labor. TETRA was informed that rates would be unable to be decreased because the cost was

already so cheap and there were so many Americans available to work those positions. Vertex

continually questioned the exemption that had been granted by the Coast Guard, and informed

TETRA on countless occasions that American labor existed that could fill these positions. Every

time the offer of American labor was made, TETRA rejected it.

       3.24    In August 2015, TETRA was terminated from the project the Arapaho was working

on. On information and belief, at the time its involvement on the project ended, there were 16

American riggers and 16 American welders on board the vessel. Of the Americans, it is believed

50% were TETRA employees with years of experience working offshore, and the other 50% were




                                                 9
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 10 of 21



qualified American subcontractors provided from labor companies. The Arapaho returned to dock,

and all the workers on the vessel were sent home.

       3.25    Vertex informed TETRA that the proper course of action was to work the newly

available American personnel on the TETRA Hedron. There was a scheduled crew change for the

foreign workers on the TETRA Hedron the week after the Arapaho returned to dock. Approximately

20-25 foreign workers would be sent home for time-off. With the availability of American workers,

there was no need to bring over a replacement crew of foreigners. Legally, TETRA was required to

use the Arapaho’s former American workers who were available to work. Despite the federal laws

to the contrary, TETRA decided to bring over the replacement foreign crew and ignore the

widespread availability of American workers to fill these positions. In an attempt to again save

money on labor, TETRA turned a blind eye to American workers it knew were available and willing

to work on its vessels.

       3.26    The unfortunate reality is that someone at TETRA foresaw the likelihood that the

company would try and skirt the laws regarding foreign labor. When job positions were first created

for the TETRA Hedron a job was created titled “rigger-trainee.” This was a position specifically

created for an individual who did not have any offshore experience. The workers hired for this

position would be able to learn the job alongside more experienced personnel. The goal was to train

American workers on board the vessel and create a steady stream of American labor in order to meet

manning needs without having to rely on foreign labor. TETRA simply chose not to fill these

positions in order to save money.

       3.27    In December 2015, at a meeting at TETRA’s The Woodlands headquarters, TETRA

was informed by Vertex that American personnel could be provided to fill TETRA’s labor needs on

the TETRA Hedron. TETRA ignored this offer of American laborers and continued to use foreign


                                                10
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 11 of 21



laborers on board their vessel in the beginning of 2016. In fact, TETRA used another labor provider

to literally use the same foreign labor previously provided by Vertex on board the TETRA Hedron.

Vertex’s offer of American personnel was refused by TETRA in order to save money by using

foreign workers.

       3.28     By using foreign workers instead of Americans, TETRA is able to keep all American

pay rates at an artificially low level and manipulate the illegal exemption to gain profits. The use

of foreign personnel on the TETRA Hedron allowed the company to save approximately $19,000.00

per day on that vessel alone. TETRA is required by the exemption to continually search for

American workers, but has failed to do so. By using foreign personnel, TETRA can underbid against

other American companies who employ Americans as required by law. TETRA is also able to keep

TETRA’s American workforce rates lower than their competition.

       3.29     TETRA’s improper hiring of foreign workers continues to this day. On information

and belief, TETRA still uses two barges to carry out its work in the Gulf of Mexico: the Arapaho

and the TETRA Hedron. To adequately staff the two barges with riggers requires 32 workers.

Despite this number, On Marcy 23, 2017 TETRA created a new job listing on the Louisiana

Workforce Commission website. TETRA advertised for only 4 positions available to American

workers. Based on TETRA’s past actions it is unlikely it considers hiring any Americans for this

number of positions. To adequately satisfy the statutory requirements to establish no Americans are

available to work this position, TETRA should be advertising that it has positions available for 32

riggers.

       3.30     Vertex has suffered harm in the amount of depressed profits and an inability to grow

the business.




                                                 11
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 12 of 21



                                    IV. CAUSES OF ACTION

        A.      VIOLATIONS OF 18 U.S.C. § 1962(c) OF RICO

      TETRA IS ENGAGED IN AN ONGOING ILLEGAL WORKER HIRING SCHEME

        4.1     Vertex re-alleges paragraphs 1.1 to 3.30 as though fully again set forth.

        4.2     18 U.S.C. § 1962(c) provides: “It shall be unlawful for any persons employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise's affairs

through a pattern of racketeering activity or collection of unlawful debt.”

        4.3     TETRA is a geographically diversified oil and gas services company, focused on

completion fluids and associated products and services, water management, frac flowback,

production well testing, offshore rig cooling, compression services and equipment and selected

offshore services the provision of offshore labor to other companies. TETRA is a global company

with employees and operations on six continents. It employs hundreds, if not thousands, of persons

on its projects and has an ongoing need for workers to staff its projects. It owns a fleet of derrick

barges that it uses on its offshore projects.

        4.4     TETRA prior to the filing of this lawsuit has improperly obtained foreign workers to

staff its projects undertaken in the Gulf of Mexico. Despite the availability of American workers to

fulfill its staffing needs, TETRA has illegally represented to the Coast Guard and the Department

of Labor that there are no available American workers to fill the jobs on its offshore barges.

        4.5     The Illegal Worker Hiring Scheme has been successful in reducing the personnel cost

that TETRA must pay for labor. On just the TETRA Hedron, the use of foreign labor has saved the

company at least $19,000.00 per day, at the expense of Americans and Vertex.




                                                  12
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 13 of 21



        4.6     Defendants are, and at all times relevant to this action, were a RICO “person” within

the meaning of 18 U.S.C. §§ 1961(3) and 1962(c).

        4.7     TETRA has violated 18 U.S.C. section §§ 1962 and 1962(d), and by reason of their

violations, Vertex has been injured in its property. Vertex is a victim of this illegal scheme because

it was paid a wage rate for the personnel provided to TETRA below what TETRA would have been

required to pay if each of the workers provided were American.

                 THE ILLEGAL WORKER HIRING SCHEME VIOLATES RICO

        4.8     The Illegal Worker Hiring Scheme violates two provisions of Section 274 of the

Immigration and Nationality Act, specifically, 8 U.S.C. § 1324(a)(1)(A)(iii) (knowingly harboring

or concealing illegal aliens), and 8 U.S.C. § 1324(a)(3)(A) (prohibiting the knowing employment

of illegal aliens).

        4.9     TETRA has harbored hundreds of illegal workers by employing them on the Outer

Continental Shelf (“OCS”). The employment, knowing the workers are illegally employed on the

OCS, constitutes their “knowing” employment.

        4.10    This pattern has repeatedly occurred during the period before this complaint was filed,

and is a regular pattern and practice of TETRA’s regular staffing operations.

        4.11    Vertex believes that TETRA will not cease the Illegal Worker Hiring Scheme without

judicial intervention.

        4.12    The violations of 8 U.S.C. § 1324 are RICO violations, pursuant to 18 U.S.C. §

1961(1)(F). The illegal worker hiring scheme violates sections 274 and 277 of the Immigration and

Nationality Act, because the TETRA’s acts were committed for the purpose of financial gain.

Therefore, TETRA is committing a “pattern of racketeering activity” in violation of RICO.




                                                  13
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 14 of 21



       TETRA IS COMMITTING THE RACKETEERING ACTIVITY THROUGH THE
              ENTERPRISE - BLUE MARINE/SEA CROSS MARINE PTE

       4.13    TETRA relies on offshore personnel companies like the Plaintiff to locate, train, and

provide foreign labor to be used on its vessels. The foreign labor used by TETRA during this

timeframe was sourced from Blue Marine, which eventually became Sea Cross Marine PTE. Vertex

obtains workers from Blue Marine/Sea Cross Marine PTE which were then used by TETRA on an

ongoing basis. When a worker from Blue Marine/Sea Cross Marine PTE was brought to the United

States by Vertex, that worker was then used by TETRA and placed on one of TETRA’s offshore

barges. As shown above, most of these workers are illegal workers by virtue of the improperly

obtained foreign worker exemption, which TETRA knows, and which is essential to the Illegal

Worker Hiring Scheme. Therefore, Vertex alleges TETRA is using Blue Marine/Sea Cross Marine

PTE as its RICO enterprise.

       4.14    Blue Marine/Sea Cross Marine is an entity formed by a nonparty that is engaged in

interstate commerce. Its legitimate purpose was to provide foreign labor to fill properly obtained

foreign labor exemptions.

       4.15    Both TETRA and Blue Marine/Sea Cross Marine have an existence apart from the

commission of the Illegal Worker Hiring Scheme, as both are legitimate businesses that perform

other work.

       4.16    The Defendants “person” unlawfully conducted and participated in the conduct, the

management, and the operation of the Enterprise’s affairs, directly or indirectly, through a pattern

of unlawful activity in violation of 18 U.S.C. § 1962(c). Defendants engaged in such unlawful

conduct by using the Enterprise to conduct lawful activities as well as to further Defendants’

unlawful scheme to knowingly harbor and employee illegal immigrants, causing Vertex to suffer the

damages herein alleged.

                                                14
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 15 of 21



      TETRA IS COMMITTING THE RACKETEERING ACTIVITY THROUGH THE
     ASSOCIATION IN FACT ENTERPRISE - ALL FOREIGN WORKERS OBTAINED
               THROUGH THE ILLEGAL WORKER HIRING SCHEME

       4.17    TETRA relies on foreign labor to staff its vessels. When a worker from Blue

Marine/Sea Cross Marine PTE was brought to the United States by Vertex, that worker was then

used by TETRA and placed on one of TETRA’s offshore barges. As shown above, most of these

workers are illegal workers by virtue of TETRA’s improperly obtained foreign worker exemption,

which TETRA knows, and which is essential to the Illegal Worker Hiring Scheme. Therefore,

Vertex alleges TETRA is using all foreign workers obtained through the illegal worker hiring

scheme as its RICO association in fact enterprise.

       4.18    The foreign workers comprised a continuing unit that functioned with a common

purpose. They were brought to the United States to fill the offshore staffing needs of TETRA,

pursuant to improperly obtained foreign labor exemptions. The purpose of the association in fact

enterprise was to provide foreign labor on TETRA barges at a rate lower than would have been

charged if TETRA had staffed the barges with American labor. The foreign workers had defined

roles and relationships on the barges. TETRA used the workers for particular jobs that corresponded

to identified positions on the foreign labor exemptions. The enterprise had longevity in order to

permit the workers to pursue the enterprise’s purpose.

       4.19    The Defendants “person” unlawfully conducted and participated in the conduct, the

management, and the operation of the Enterprise’s affairs, directly or indirectly, through a pattern

of unlawful activity in violation of 18 U.S.C. § 1962(c). Defendants engaged in such unlawful

conduct by using the Enterprise to conduct lawful activities as well as to further Defendants’

unlawful scheme to knowingly harbor and employee illegal immigrants, causing Vertex to suffer the

damages herein alleged.


                                                15
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 16 of 21



                 RICO PREDICATE ACTS: VIOLATIONS OF SECTION 247 OF THE
                          IMMIGRATION AND NATIONALITY ACT

          4.20    The Defendants violated Section 274(a)(1)(A)(ii) of the Immigration and Nationality

Act by knowingly or in reckless disregard of the fact that an alien has come to, entered, or remains

in the United States in violation of law, transported, or moved or attempted to transport or move such

alien within the United States by means of transportation or otherwise.

          4.21    The Defendants violated Section 274(a)(1)(A)(iv) of the Immigration and Nationality

Act by encouraging or inducing an alien to come to, enter, or reside in the United States, knowing

or in reckless disregard of the fact that such coming to, entry, or residence is or will be in violation

of law.

          4.22    The Defendants violated Section 274(a)(1)(A)(v) of the Immigration and Nationality

Act by conspiring to commit the violations listed in Paragraphs 4.20 and 4.21.

          4.23    The Defendants participated in a plan, scheme or artifice to defraud Vertex, and with

the intent to knowingly hire foreign workers, violated multiple provisions of the Immigration and

Nationality Act.

          4.24    As alleged more fully above, the Defendants effectuated the plan, scheme or artifice

to improperly hire foreign workers, with reasonable foreseeability that the Immigration and

Nationality Act would be violated, all for the purposes of gaining an improper foreign labor

exemption.

          4.25    Upon information and belief, Vertex will continue to identify numerous other

predicate acts of violations of Section 274 of the Immigration and Nationality Act, now known only

to Defendants who have proof of them in their possession.




                                                   16
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 17 of 21



              RICO PREDICATE ACTS: VIOLATIONS OF SECTION 277 OF THE
                       IMMIGRATION AND NATIONALITY ACT

       4.26    The Defendants have violated Section 277 of the Immigration and Nationality Act

by knowingly aiding or assisting aliens inadmissible under Section 212(a)(3) of the Immigration and

Nationality Act to enter the United States.

       4.27    The foreign workers are inadmissible under Section 212(a)(3) because the foreign

labor exemption granted to TETRA was improper, meaning the presence of the foreign workers in

the United States violates Section 212(a)(3)(A)(ii).

       4.28    The Defendants have violated Section 277 of the Immigration and Nationality Act

by conniving or conspiring to allow, procure, or permit any such alien whose presence in the United

States violates Section 212(a)(3) to enter the United States.

       4.29    The Defendants participated in a plan, scheme or artifice to defraud Vertex, and with

the intent to knowingly hire foreign workers, violated multiple provisions of the Immigration and

Nationality Act.

       4.30    As alleged more fully above, the Defendants effectuated the plan, scheme or artifice

to improperly hire foreign workers, with reasonably foreseeability that the Immigration and

Nationality Act would be violated, all for the purposes of gaining an improper foreign labor

exemption.

       4.31    Upon information and belief, Vertex will continue to identify numerous other

predicate acts of violations of Section 277 of the Immigration and Nationality Act, now known only

to Defendants who has proof of them in their possession.




                                                17
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 18 of 21



                RICO PREDICATE ACTS: FRAUD AND MISUSE OF VISAS,
                        PERMITS, AND OTHER DOCUMENTS

       4.32    For the purpose of devising or intending to devise and carry out their scheme and

artifice to improperly hire foreign workers, Defendants did commit a violation of 18 U.S.C. § 1546.

       4.33    The information provided by Defendants in order to obtain foreign labor exemptions

was misleading, inaccurate, false and/or incomplete. As a result, the foreign labor exemptions

obtained by Defendants were not valid. 18 U.S.C. § 1546 prohibits the possession or obtainment of

any document prescribed by statute or regulation for entry into or as evidence of authorized stay or

employment in the United States, knowing it to be falsely made, or to have been procured by means

of any false claim or statement, or to have been otherwise procured by fraud or unlawfully obtained.

       4.34    The surplus of American workers available to work offshore renders any statement

of temporary need made by TETRA during that timeframe to be falsely made. As such, the

possession of any exemption granted by the U.S. Coast Guard violated 18 U.S.C. § 1546.

       4.35    Examples of these predicate acts of misuse of immigration documents include, but

are not limited to, the false claims made in TETRA’s applications for foreign labor exemption.

Upon information and belief, Vertex will continue to identify numerous other predicate acts of fraud

and misuse of visas, permits, and other documents, now known only to Defendants who have proof

of them in its possession

                            PATTERN OF RACKETEERING ACTIVITY

       4.36    Defendants’ previously alleged predicate acts in furtherance of its scheme to illegally

hire foreign workers constituted a pattern of unlawful activity within the meaning of 18 U.S.C. §

1961(5) because the predicate acts were related and continuous. Each predicate act had the same or

similar purpose.



                                                 18
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 19 of 21



       4.37    The Defendants were associated with the Enterprise and did conduct or participate,

directly or indirectly, in the management or operation of the conduct of the affairs of the Enterprise

through a pattern of racketeering activity within the meaning of 18 U.S.C. §§ 1961(1)(B), 1961(5)

and 1962(c), to wit: multiple violations of Section 274 of the Immigration and Nationality Act,

multiple violations of Section 277 of the Immigration and Nationality Act, and multiple instances

of fraud and misuse of visas in violation of 18 U.S.C. § 1546

       4.38    Vertex suffered injury to its business or property as a proximate result of the pattern

of unlawful activity and violations engaged in by Defendant.

           RELATEDNESS AND CONTINUITY OF THE UNLAWFUL ACTIVITY

       4.39    All of the predicate acts alleged above relate to the Defendants’ unlawful acts

described herein. The unlawful activity demonstrates continuity by the predicate acts alleged above,

because the pattern of unlawful activity involves multiple predicate acts and related predicate acts

that have taken place over several years, threatens to continue into the future indefinitely unless the

Court intervenes, and constitutes the regular way of doing business by the Defendants.

       4.40    As a proximate result of the pattern of unlawful activity and violations engaged in

by Defendants, Vertex suffered injury to its business or property.

               VERTEX HAS BEEN PROXIMATELY HARMED BY TETRA’S
                     PATTERN OF RACKETEERING ACTIVITY

       4.41    This action is brought pursuant to 18 U.S.C. § 1962(c), which makes it illegal for

TETRA to participate in the affairs of an enterprise through a pattern of racketeering activity.

       4.42    TETRA participates in the affairs of an enterprise, as described, by knowingly

employing hundreds, if not thousands, of illegal workers.

       4.43    Vertex has been proximately harmed by the racketeering activity by being paid

depressed wages by TETRA.

                                                  19
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 20 of 21



        4.44   Vertex’s injuries are direct and proximately caused by TETRA’s racketeering

activities.

        4.45   Accordingly, Vertex has standing to sue for its damages pursuant to 18 U.S.C.

1964(c).

                                    V. RELIEF REQUESTED

        5.1    Vertex incorporates by reference the factual allegations contained in the preceding

paragraphs.

        5.2    Pursuant to 18 U.S.C. § 1964(c), and as a direct and proximate result of the

Defendants’ wrongful conduct, Plaintiff requests treble money damages totaling: (i) the difference

between the depressed amount paid Plaintiff and the actual amount Plaintiff would have received

had the Defendants not hired illegal foreign workers through its pattern and practice of immigration

violations in manning positions; and (ii) the reasonable and necessary attorney’s fees, litigation

expenses and court costs in prosecuting this action. The Plaintiff is entitled to recover such amounts.

        5.3    All other relief to which Plaintiff may be entitled

                                      VII. JURY DEMAND

        6.1    Contemporaneous with the filing of this Original Complaint, Plaintiff has paid a jury

fee and respectfully requests that the case be brought before a jury for trial on all matters.




                                                  20
     Case 4:17-cv-01527 Document 1 Filed in TXSD on 05/18/17 Page 21 of 21



        WHEREFORE, Vertex prays for judgment against TETRA Technologies, Inc. and TETRA

Applied Technologies, LLC for: actual damages; prejudgment and postjudgment interest; attorney’s

fees; costs of suit; and all other relief to which it may show itself justly entitled, in law or in equity.

                                                         Respectfully submitted,

                                                         SPAGNOLETTI & CO.

                                                         /s/ Francis I. Spagnoletti
                                                         Francis I. Spagnoletti
                                                         Texas SBN 18869600 / SDTX ID 5369
                                                         401 Louisiana Street, 8th Floor
                                                         Houston, TX 77002
                                                         Telephone: 713 653 5600
                                                         Facsimile: 713 653 5656
                                                         fspagnoletti@spaglaw.com
OF COUNSEL:

SPAGNOLETTI & CO.

David S. Toy
Texas SBN 24048029 / SDTX ID 588699
Eric J. Rhine
Texas SBN 24060485 / SDTX ID 1786163
401 Louisiana Street, 8th Floor
Houston, TX 77002
Telephone: 713 653 5600
Facsimile: 713 653 5656
Email: dtoy@spaglaw.com
Email: erhine@spaglaw.com

ATTORNEYS FOR PLAINTIFF
VERTEX SERVICES, LLC




                                                    21
